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                       EXHIBIT K
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                          CLINICAL REPORT Guidance for the Clinician in Rendering Pediatric Care




                          Neonatal Opioid Withdrawal Syndrome
                          Stephen W. Patrick, MD, MPH, MS, FAAP,a Wanda D. Barﬁeld, MD, MPH, FAAP,b Brenda B. Poindexter, MD, MS, FAAP,c COMMITTEE
                          ON FETUS AND NEWBORN, COMMITTEE ON SUBSTANCE USE AND PREVENTION




The opioid crisis has grown to affect pregnant women and infants across the              abstract
United States, as evidenced by rising rates of opioid use disorder among
pregnant women and neonatal opioid withdrawal syndrome among infants.
                                                                                         a
Across the country, pregnant women lack access to evidence-based therapies,               Division of Neonatology, Department of Pediatrics and Health Policy,
                                                                                         School of Medicine, Vanderbilt University and Vanderbilt Center for
including medications for opioid use disorder, and infants with opioid                   Child Health Policy, Vanderbilt University Medical Center, Nashville,
exposure frequently receive variable care. In addition, public systems, such as          Tennessee; bCenters for Disease Control and Prevention, Atlanta,
                                                                                         Georgia; and cDepartment of Pediatrics, College of Medicine, University
child welfare and early intervention, are increasingly stretched by increasing           of Cincinnati and Cincinnati Children’s Medical Hospital Center,
numbers of children affected by the crisis. Systematic, enduring, coordinated,           Cincinnati, Ohio
and holistic approaches are needed to improve care for the mother-infant
                                                                                         Clinical reports from the American Academy of Pediatrics beneﬁt from
dyad. In this statement, we provide an overview of the effect of the opioid              expertise and resources of liaisons and internal (AAP) and external
                                                                                         reviewers. However, clinical reports from the American Academy of
crisis on the mother-infant dyad and provide recommendations for                         Pediatrics may not reﬂect the views of the liaisons or the
management of the infant with opioid exposure, including clinical                        organizations or government agencies that they represent.

presentation, assessment, treatment, and discharge.                                      Drs Patrick, Barﬁeld, and Poindexter were directly involved in the
                                                                                         planning, researching, and writing of this report and approved the
                                                                                         ﬁnal manuscript as submitted.

                                                                                         The guidance in this report does not indicate an exclusive course of
                                                                                         treatment or serve as a standard of medical care. Variations, taking
INTRODUCTION                                                                             into account individual circumstances, may be appropriate.

The United States has experienced a surge in opioid use and opioid-related               All clinical reports from the American Academy of Pediatrics
                                                                                         automatically expire 5 years after publication unless reafﬁrmed,
complications. From 1999 to 2009, there was a quadrupling of opioid pain                 revised, or retired at or before that time.
reliever prescription sales nationwide.1 By 2015, 3 times as many                        The ﬁndings and conclusions in this report are those of the authors
prescriptions for opioid pain relievers were ﬁlled than in 1999,2 reaching               and do not necessarily represent the views of the US Centers for
.37% of US adults using opioid pain relievers in 2015.3 The rapid                        Disease Control and Prevention.

increase in opioid pain reliever use in the early 2000s was associated with              This document is copyrighted and is property of the American
                                                                                         Academy of Pediatrics and its Board of Directors. All authors have ﬁled
a parallel increase in opioid pain reliever–related treatment facility                   conﬂict of interest statements with the American Academy of
admissions and overdose deaths.1 Since 2011, however, deaths from                        Pediatrics. Any conﬂicts have been resolved through a process
                                                                                         approved by the Board of Directors. The American Academy of
opioid pain relievers have plateaued, whereas deaths from heroin and                     Pediatrics has neither solicited nor accepted any commercial
fentanyl have grown exponentially.4 In 2017, .47 600 Americans died of                   involvement in the development of the content of this publication.
opioid-related overdoses (including opioid pain relievers, heroin, and                   DOI: https://doi.org/10.1542/peds.2020-029074
fentanyl), outnumbering deaths from car crashes and ﬁrearms.5
                                                                                         Address correspondence to Stephen W. Patrick, MD, MPH, MS, FAAP.
As the opioid crisis grew in scope and complexity in the population at                   E-mail: stephen.patrick@vanderbilt.edu

large, opioid use6 and opioid use disorder (OUD)7–9 among pregnant
women also increased. Opioid use in pregnancy can lead to a withdrawal                       To cite: Patrick SW, Barﬁeld WD, Poindexter BB, AAP COMMITTEE
syndrome in the newborn shortly after birth. The syndrome has been                           ON FETUS AND NEWBORN, COMMITTEE ON SUBSTANCE USE AND
                                                                                             PREVENTION. Neonatal Opioid Withdrawal Syndrome. Pediatrics.
traditionally called neonatal abstinence syndrome but more recently has
                                                                                             2020;146(5):e2020029074
been called neonatal opioid withdrawal syndrome (NOWS) by federal


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agencies, including the US Food and         opioid use that leads to clinically             reliever were more likely (P , .001)
Drug Administration.10 Although             signiﬁcant impairment or distress.16            to also report last-30-day use of
neonatal abstinence syndrome is             Rates of OUD in pregnancy grew                  alcohol (49.2% vs 8.6%), tobacco
a more general term for neonatal            substantially from 1999 to 2014,7               (59.3% vs 15.6%), and marijuana
withdrawal that, in the literature, may     with disproportionally higher rates in          (41.6% vs 3.3%).21 Importantly, use
include nonopioid exposures (eg,            rural areas of the country.9 Untreated          of other substances (eg, tobacco)22 or
benzodiazepines),11 evidence                OUD in pregnant women can result in             prescription sedatives (eg,
suggests that the recent growth of          dire consequences for the mother-               benzodiazepines)23 along with an
neonatal drug withdrawal has been           infant dyad, including overdose death,          opioid may increase risk and/or
primarily from in utero opioid              fetal loss, and preterm birth. As               severity of NOWS. In addition, alcohol
exposure either in isolation or in          highlighted by the recent report from           use in pregnancy is particularly
combination with other substances.8         the National Academies of Sciences,             problematic because alcohol,
                                            Engineering, and Medicine,                      a teratogen, can cause fetal alcohol
The recent increase in OUD in               “Medications for Opioid Use Disorder            spectrum disorders and is the leading
pregnancy and NOWS reveals                  Save Lives,”17 optimal care for                 cause of preventable intellectual
deﬁciencies in the continuum of care        pregnant women with OUD includes                disability in the United States.24 It is
for the maternal-infant dyad in             treatment with methadone or                     difﬁcult for clinicians to disentangle
clinical and public systems. The child      buprenorphine. Methadone is a full              the short- and long-term effects of
welfare system, for example, reported       m-opioid receptor agonist, which is             exposure to opioids from other
an increase of .10 000 infants in           dispensed from federally licensed               substances. Finally, social and
foster care from 2011 to 2017, most         opioid treatment programs. In                   economic factors,25 systemic
because of parental substance               contrast, buprenorphine is a partial            racism,26 maternal physical and
use.12,13 Systematic, enduring,             m-opioid receptor agonist and partial           mental health, genetic and/or
coordinated, and holistic approaches        k-opioid receptor antagonist that can           epigenetic, nutritional, and
are needed to improve care for the          be obtained from an opioid treatment            environmental factors may adversely
mother-infant dyad. Optimizing the          program or from a provider who has              affect infant development
health and well-being of a pregnant         obtained a waiver to prescribe                  independent of maternal substance
woman gives her infant the highest          through the Drug Addiction                      use disorder.27
likelihood of an ideal outcome. Care        Treatment Act of 2000. Despite
for the mother-infant dyad should be        literature to support the use of                Increases in maternal opioid use were
comprehensive and should consider           medications for OUD in pregnancy,               accompanied by a parallel increase in
the needs of both the mother and            there remain substantial barriers in            NOWS.8,9 From 2000 to 2016, the
infant, as is outlined in the American      obtaining medications for OUD                   incidence of NOWS increased from
Academy of Pediatrics (AAP) policy          among pregnant women.18,19 These                1.2 to 8.8 per 1000 hospital
statement “A Public Health Response         barriers may, in part, be why the               births.8,28–30 These increases have
to Opioid Use in Pregnancy.”14 This         majority of pregnant women who                  been steeper in rural and tribal areas9
statement builds on previous AAP-           are able to obtain treatment of                 and among infants enrolled in the
released clinical recommendations,          OUD do not receive medications                  Medicaid program.29 In addition,
including “Recommendations to the                                                           there is remarkable state-to-state
                                            for OUD, despite evidence of their
Indian Health Service on Neonatal
                                            beneﬁt.18,20                                    variation in NOWS. For example, West
Opioid Withdrawal Syndrome,”15 and                                                          Virginia has the highest reported rate
focuses primarily on the clinical           Opioid use typically does not occur in          of NOWS at 33.4 per 1000 hospital
presentation, assessment, and               isolation and frequently involves               births, compared with Hawaii at
treatment of infants with opioid            other substances. In a recent study,            0.7 per 1000 hospital births.31
exposure and those with NOWS. The           using data from the National Survey             American Indian and Alaskan
statement also discusses how the            of Drug Use and Health from 2005                native populations have been
discharge process can be used to            to 2014, authors found that 5.1% of             disproportionately affected by NOWS.
connect infants to important                US pregnant women reported                      In 2016, American Indian and
postdischarge services.                     nonmedical use of an opioid pain                Alaskan native infants had the highest
                                            reliever in the last year. Compared             rate of NOWS at 15.9 per 1000
                                            with pregnant women who did not                 hospital births, compared with white
OUD IN PREGNANCY AND NOWS                   report nonmedical use of an opioid              infants at 10.5 per 1000 hospital
Use of opioids, even as directed, can       pain reliever in the last 30 days,              births, Black infants at 3.4 per 1000
heighten risk of developing OUD,            pregnant women who reported                     hospital births, and Hispanic infants
deﬁned as a problematic pattern of          nonmedical use of an opioid pain                at 2.5 per 1000 hospital births.32


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ASSESSMENT AND CLINICAL                                       presentation or risk of NOWS varies                            usually begins at ∼24 to 72 hours of
PRESENTATION                                                  by opioid type (eg, immediate release,                         age.11 Withdrawal, however, may be
Assessment of infants with opioid                             sustained release, maintenance),22                             delayed until 5 to 7 days of age, which
exposure by the health care team                              the maternal drug history (including                           is typically after hospital discharge
should include a thorough maternal                            timing of the most recent use of                               for uncomplicated term infants.11
history, including information                                drugs before delivery), maternal                               Subacute signs of opioid withdrawal
gathered on substance use, additional                         metabolism, net transfer of drugs                              may last up to 6 months.11,37
medication use (prescribed and                                across the placenta, placental
unprescribed), adversities                                    metabolism, infant metabolism and
                                                              excretion, and other factors.11 In                             SCREENING
experienced in childhood, cultural
beliefs, trauma and violence                                  addition, maternal use of other                                Screening for substance use is distinct
exposures past and present, mental                            substances, such as cigarettes,                                from testing for substance use.
health disorders, and infectious                              benzodiazepines, and gabapentin,                               Screening generally refers to the use
diseases (including HIV and hepatitis                         may inﬂuence the onset, severity,                              of a validated instrument to assess
C virus [HCV] infections). Ideally,                           or duration of the withdrawal                                  substance use, whereas testing refers
clinicians should also assess the                             syndrome.22,23,33 Higher cumulative                            to the use of a diagnostic test (eg,
needs of the family, including the                            opioid exposure may increase the                               urine toxicology). Ideally, screening
status of signiﬁcant others and                               risk of NOWS among infants                                     for substance use occurs in the ﬁrst
children as well as food and housing                          exposed to immediate-release                                   trimester by a prenatal provider
insecurity. When evaluating an                                prescription opioids22; however,                               (eg, family medicine, obstetrician,
infant with clinical signs consistent                         studies of the relationship                                    midwife) using a validated screening
with NOWS, it is also important                               between maternal methadone34,35                                tool, as endorsed by the American
to consider other diagnoses that                              and buprenorphine22,36 dosage                                  College of Obstetricians and
present similarly (eg, sepsis,                                and risk or severity of NOWS                                   Gynecologists (ACOG). The ACOG
hypoglycemia, hypocalcemia, and                               have generally found no                                        recommends early universal
neurologic injury).                                           relationship.                                                  screening for substance use at the
                                                                                                                             time of the ﬁrst prenatal visit.38
                                                              Because opioid receptors are                                   During this time, other risks should
CLINICAL PRESENTATION OF NOWS IN                              concentrated in the central nervous                            be assessed, including HIV, HCV, and
NEONATES                                                      system and the gastrointestinal tract,                         syphilis infection, and, if identiﬁed,
NOWS occurs after chronic exposure                            the predominant clinical signs reﬂect                          appropriate planning for treatment
to opioids (Table 1); therefore,                              these systems (eg, tremors, loose                              (eg, HIV antiviral therapy) should
exposure to opioids around the time                           stools; Table 2). Onset of clinical signs                      occur in the perinatal period. An
of delivery, including opioids in an                          of withdrawal tend to reﬂect the half-                         ACOG committee opinion mentions
epidural or intravenous agonist                               life of the opioid involved. For                               that screening tools include the “4
and/or antagonist therapies (eg,                              example, withdrawal from heroin                                P’s” for adults and the “CRAFFT” tool
nalbuphine, butorphanol), does                                often begins within 24 hours of birth,                         for adolescents (Table 3).38 Clinical
not cause NOWS. The clinical                                  whereas withdrawal from methadone                              guidance from the AAP for screening


TABLE 1 Common Immediate-Release, Sustained-Release, and Maintenance Opioids
 Drug                                                 Immediate Release                                       Sustained Release                                      Maintenance
 Buprenorphine                                                 —                                                       —                                                   X
 Codeine                                                       X                                                       —                                                   —
 Dihydrocodeine                                                X                                                       —                                                   —
 Fentanyl                                                      X                                                       X                                                   —
 Hydrocodone                                                   X                                                       —                                                   —
 Hydromorphone                                                 X                                                       X                                                   —
 Levorphanol                                                   X                                                       —                                                   —
 Meperidine                                                    X                                                       —                                                   —
 Methadone                                                     —                                                       —                                                   X
 Morphine                                                      X                                                       X                                                   —
 Oxycodone                                                     X                                                       X                                                   —
 Oxymorphone                                                   X                                                       X                                                   —
 Tramadol                                                      X                                                       —                                                   —
Adapted from Argoff CE, Silvershein DI. A comparison of long- and short-acting opioids for the treatment of chronic noncancer pain: tailoring therapy to meet patient needs. Mayo Clin
Proc. 2009;84(7):602–612. —, not applicable.



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TABLE 2 Signs of NOWS                                    SCREENING AND TESTING: MOTHER AND             the hepatobiliary system as well as
                                                         INFANT                                        drugs excreted by the fetal kidneys
    Signs of NOWS
                                                         Given the challenges in identifying           into the amniotic ﬂuid are
    Central nervous system irritability
                                                         infants at risk for NOWS with                 concentrated in meconium.
      High-pitched, continuous crying
      Decreased sleep                                    maternal screening, some have                 Meconium testing provides a longer
      Tremors                                            advocated for universal urine                 window of time throughout the
      Increased muscle tone
                                                         toxicology testing of mothers at the          pregnancy, beginning as early as 20
      Hyperactive Moro reﬂex                                                                           weeks’ gestation, and is generally
      Seizures                                           time of delivery. In a recent cohort
    Gastrointestinal dysfunction                         study from a single center, the               considered the gold standard for
      Feeding difﬁculties                                efﬁcacy of a universal testing protocol       infant toxicology testing.47–49
      Vomiting                                           for all mothers was assessed in               Meconium collection, however, can be
      Loose or watery stools
                                                         a community hospital setting. In this         labor intensive, requiring collection
    Autonomic nervous system activation                                                                for several days, and does not reﬂect
      Sweating                                           study, 5.4% of pregnant women had
      Fever                                              a positive drug test result at the time       periods of abstinence close to
      Frequent yawning and sneezing                      of admission (3.2% were positive for          delivery. Meconium must be collected
      Increased respiratory rate                         opioids). Of the pregnant women with          before it is contaminated by
      Nasal stufﬁness and ﬂaring                                                                       nonmeconium stools (ie, after the
                                                         a positive urine drug test result for
Adapted from Ko JY, Wolicki S, Barﬁeld WD, et al. CDC    opioids, 20% had a negative risk-             infant receives colostrum or
Grand Rounds: public health strategies to prevent neo-                                                 transitional milk, mature human milk,
natal abstinence syndrome. MMWR Morb Mortal Wkly         based screen result.41 However,
Rep. 2017;66(9):242–245.                                 screening and testing processes are           or formula). More recently, umbilical
                                                         complex and have potential legal              cord tissue testing has emerged as an
                                                         ramiﬁcations, and the AAP endorses            alternative to meconium collection;
                                                         informed consent for toxicology               given that umbilical cord tissue is
adolescents for substance use can be                                                                   readily available at the time of birth,
                                                         testing of pregnant women.14 Notably
found in the clinical report on                          universal testing has resulted in             it has logistic advantages to
substance use screening, brief                           disproportionately higher child               meconium collection.49–53 Although
intervention, and referral to                            protective services referrals for Black       some studies have suggested
treatment.39 Prenatal clinicians can                     women compared with white                     equivalence between meconium and
also use their state’s prescription                      women42,43 Pediatricians should be            umbilical cord tissue testing,53 others
drug monitoring program as                               aware of and reduce institutional             studies have found the paired testing
a resource for ﬁlled prescriptions                       biases in implementing universal              of meconium and umbilical cord
because it may capture some high-                        toxicology testing for infants, which         tissue to be discordant.54 Clinicians
risk patient behaviors, such as                          could result in unequal consequences          should be mindful of the differences
patients seeking controlled                              for mothers and infants on the basis          in testing modalities when
substances from different clinicians.40                  of race, ethnicity, and/or                    considering their needs for testing
A complete summary of ACOG-                              socioeconomic status.                         and work with their laboratories to
recommended screening is beyond                                                                        determine the best testing modality
the scope of this statement but can be                   Toxicology testing for an infant can          in their setting.
found online (https://www.acog.org/                      occur from multiple modalities,
Clinical-Guidance-and-Publications/                      including urine, meconium, and                Infant toxicology testing should be
Committee-Opinions/Committee-on-                         umbilical cord tissue.11 A urine              completed when it will inform clinical
Obstetric-Practice/Opioid-Use-and-                       sample should be collected as soon as         management. In some instances,
Opioid-Use-Disorder-in-Pregnancy).                       possible after birth if the clinician is      testing of the infant provides no
Ideally, pediatric clinicians should                     concerned because many drugs are              additional clinical information and
work collaboratively with obstetric                      rapidly metabolized and                       would not be recommended. For
colleagues to obtain relevant clinical                   eliminated.44–46 For example, after in        example, for women in treatment for
information (eg, screening results) to                   utero exposure, opioids and their             OUD who are closely monitored with
minimize care duplication. Pregnant                      metabolites may no longer be                  frequent toxicology testing,
women with OUD should also receive                       detectable in an infant’s urine after         meconium and/or umbilical cord
antenatal counseling by a pediatric                      the ﬁrst few days of life. Similarly,         tissue testing would not likely
health care provider to assess infant                    a positive urine screening result may         provide any additional clinical
risks of NOWS and provide education                      only reﬂect recent exposure for most          information if this information is
on the clinical signs of withdrawal                      substances and may not reﬂect                 readily available to the pediatrician.
and need for nonpharmacologic and                        previous, more remote in utero                Testing can be helpful, however, when
pharmacologic interventions.                             exposure. Drugs that are excreted in          clinical details are lacking (eg, late or


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TABLE 3 Screening for Substance Use
 Screening for Substance Use
 4 P’sa
   Parents: Did any of your parents have a problem with alcohol or other drug use?
   Partner: Does your partner have a problem with alcohol or drug use?
   Past: In the past, have you had difﬁculties in your life because of alcohol or other drugs, including prescription medications?
   Present: In the past month, did you drink any alcohol or use any other drugs?
   Any “yes” answer indicates that additional assessment is needed.
 CRAFFTb,c
   C: Have you ever ridden in a car driven by someone (including yourself) who was high or had been using alcohol or drugs?
   R: Do you ever use alcohol or drugs to relax, feel better about yourself, or ﬁt in?
   A: Do you ever use alcohol or drugs while you are by yourself or alone?
   F: Do you ever forget things you did while using alcohol or drugs?
   F: Does your family or friends ever tell you that you should cut down on your drinking or drug use?
   T: Have you ever gotten in trouble while you were using alcohol or drugs?
   Two or more “yes” answers indicate that additional assessment is needed.
a Ewing H. A practical guide to intervention in health and social services with pregnant and postpartum addicts and alcoholics: theoretical framework, brief screening tool, key interview

questions, and strategies for referral to recovery resources. Martinez, CA: The Born Free Project, Contra Costa County Department of Health Services; 1990.
b Notice to clinic staff and medical records: The information on this page is protected by special federal conﬁdentiality rules (42 CFR x2), which prohibit disclosure of this information

unless authorized by speciﬁc written consent. A general authorization for release of medical information is not sufﬁcient.
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no prenatal care, placental abruption)                          feeding reﬂects a score of 3, whereas                           Despite challenges presented by
and should be considered.                                       sleeping ,3 hours after feeding                                 scoring tools, data suggest that
                                                                reﬂects a score of 1. The score is used                         standardizing institutional scoring
                                                                for initiation, advancement, and                                processes (ie, by using the same tool
DIAGNOSIS, ASSESSMENT, AND                                      weaning of pharmacotherapy for                                  the same way with each patient) and
TREATMENT                                                                                                                       training to improve interrater
                                                                NOWS on the basis of severity. The
In the 1970s, several scoring systems                           MOTHER modiﬁcation suggests                                     reliability improves clinical outcomes,
were developed to guide the                                     initiating pharmacotherapy if there is                          including decreasing length of
diagnosis and treatment of neonatal                             a consistent score of 9 to 12 or                                hospital stay.60 For example, during
abstinence syndrome.55,56 Still today,                          a single score of 13.                                           the 2-year Vermont Oxford Neonatal
however, there is not one agreed-on                                                                                             Abstinence Syndrome Collaborative,
scoring tool, and each scoring tool is                          More recently, a new scoring tool has                           standardized scoring processes were
prone to challenges of interrater                               emerged, called Eat, Sleep, Console                             associated with a shorter length of
reliability because each contains                               (ESC), which aims to guide treatment                            stay (–3.3 days; 95% conﬁdence
clinical signs that can be subjective or                        of NOWS.59 The tool is guided by the                            interval [CI], –4.9 to –1.4).60 The AAP
related to infant adaptation to                                 infant’s clinical signs of withdrawal                           does not endorse one scoring system
extrauterine life.                                              through evaluation of an infant’s                               over another because there is not
The most commonly used scoring                                  ability to eat $1 oz or breastfeed                              signiﬁcant evidence to support one
tool in the United States today is                              well, sleep undisturbed $1 hour, and                            tool’s superiority. However, given
                                                                be consoled. If these criteria are                              evidence to suggest that establishing
a modiﬁcation of the original
                                                                not met, the medical team meets,                                a consistent protocol and approach to
Finnegan score, developed in
                                                                assesses the environment and                                    scoring improves outcomes, every
the early 1970s by Dr Loretta
                                                                nonpharmacologic approaches, and                                hospital should have a written
Finnegan.55,57 Another commonly
                                                                considers initiating or escalating                              protocol and optimize provider
used score is a Finnegan scale
                                                                pharmacotherapy. ESC is appealing                               adherence. More research to support
modiﬁcation created from the
                                                                because of its ease of use and                                  the optimal assessment of an infant
Maternal Opioid Treatment: Human
                                                                simplicity but has not been studied                             with opioid exposure is needed.
Experimental Research (MOTHER)
Neonatal Abstinence Measure trial                               outside of quality improvement
(Fig 1).58 Similar to other tools, the                          initiatives. It remains somewhat                                CLINICAL MANAGEMENT OF NOWS
MOTHER modiﬁcation includes                                     unclear, for example, if improvements
common central nervous system,                                  in length of hospital stay are                                  Observation
gastrointestinal tract, and autonomic                           attributable to the ESC approach itself                         All infants with chronic opioid
clinical signs. Clinical signs are                              or to better adherence to                                       exposure should be observed for at
weighted to reﬂect severity; for                                nonpharmacologic approaches, which                              least 72 hours to monitor for the
example, sleeping ,1 hour after                                 can also reduce length of stay.59                               development of withdrawal. Although


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FIGURE 1
MOTHER Trial Modiﬁcation of the Finnegan Score. (Reprinted with permission from Jones HE, Kaltenbach K, Heil SH, et al. Neonatal abstinence syndrome
after methadone or buprenorphine exposure. N Engl J Med. 2010;363(24):2320–2331.)




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there is increasing evidence that               Keeping the mother-infant dyad                   pediatricians are uniquely positioned
multiple factors may increase an                together may promote bonding and                 to support mothers to manage their
opioid-exposed infant’s risk of                 facilitate breastfeeding, and rooming-           emotions while supporting the
withdrawal (eg, gestational age,                in should be considered the preferred            healing and development of their
speciﬁc genotypes, cigarette use,               model, including in the NICU, for                infants.64 Nonpharmacologic care
benzodiazepine and gabapentin use),             infants with opioid exposure. In                 should also include a thorough
there remains insufﬁcient evidence of           addition, the environment and infant             assessment of the hospital
how to use these exposures to tailor            handling should be modiﬁed so that it            environment and infant handling
an infant’s postnatal observation               is not overly stimulating, which can             and adaptations by the infant
period. Institutions should consider            exacerbate clinical signs of                     to each to minimize NOWS
observing infants exposed to                    withdrawal (eg, loud noises, bright              expression.
immediate-release opioids for                   lights). In addition, it is important
                                                                                                 Nonpharmacologic treatment may
at least 3 days, infants exposed to             that care clinicians (eg, nurses, nurse
                                                                                                 include a variety of supportive care
buprenorphine and sustained-release             practitioners, physicians) cluster care
                                                                                                 approaches. As described by Velez
opioids for 4 to 7 days, and infants            interventions together temporally so
                                                                                                 and Jansson,64 approaches to
exposed to methadone for 5 to 7 days.           as not to unnecessarily disturb the
                                                                                                 nonpharmacologic care should be
Notably, however, there remains                 infant, which may also aggravate
                                                                                                 tailored to the clinical behavioral and
limited evidence to inform                      signs of withdrawal.
                                                                                                 physiologic signs the infant is
observation periods, and excess
                                                Nonpharmacologic Care                            experiencing. Velez and Jansson64
observation could result in separation
                                                                                                 note 4 speciﬁc domains: (1) reactivity
of the mother-infant dyad. Additional           The literature to support speciﬁc
                                                                                                 to sensory stimulation and regulatory
research is needed to inform                    nonpharmacologic approaches is
                                                                                                 issues, (2) behavioral states and state
appropriate hospital observation                sparse; however, evolving evidence
                                                                                                 control, (3) motor and tone control,
periods for infants with opioid                 suggests that effective
                                                                                                 and (4) autonomic signs of stress. For
exposure.                                       nonpharmacologic care that engages
                                                                                                 example, an infant experiencing
                                                the mother is an essential foundation
Setting                                                                                          overreactivity to visual stimulation
                                                to the care of an infant with opioid
                                                                                                 may beneﬁt from a dimly lit
Traditionally, NOWS in the United               exposure. Nonpharmacologic care
                                                                                                 environment, whereas an infant with
States has been managed in the                  that is individualized should be
                                                                                                 hypertonia may beneﬁt from
NICU61; however, many infants at risk           applied beginning at birth for all
                                                                                                 swaddling (Fig 2).
for or with NOWS do not need NICU-              infants with substance exposure and
level care. Depending on the physical           continued throughout hospitalization
design of the unit, care in a NICU may          and beyond, regardless of the need               Breastfeeding
result in separation of the mother-             for pharmacotherapeutic                          Perhaps the most studied
infant dyad, which can further                  intervention. Engaging and coaching              nonpharmacologic intervention is
exacerbate infant clinical signs of             caregivers in nonpharmacologic care              breastfeeding.65 In general,
withdrawal and can be traumatic for             promotes bonding and may improve                 breastfeeding is safe for mothers who
mothers during this vulnerable                  outcomes, beginning with education               take methadone or buprenorphine
postpartum period. In addition, for             about the infant-speciﬁc signs of                and may reduce clinical signs of
infants going through withdrawal, the           NOWS and helping the family to                   NOWS and length of hospital stay;
NICU environment, which can be loud             interpret what triggers the clinical             thus, in many settings, breastfeeding
and overly stimulating, may not be              signs the infant is experiencing and             has become a critical foundation in
optimal. Recently, models of care have          education about how to support his               care for the mother-infant dyad.
emerged that are focused on enabling            or her regulation. Clinical features of          Methadone and buprenorphine are
the new mother to “room-in” with her            NOWS, such as irritability,                      excreted into human milk at low
newborn (in many cases, outside the             uncontrolled movements, and                      concentrations. The Academy of
NICU environment).62 In a recent                fragmented sleep, can be challenging             Breastfeeding Medicine has published
meta-analysis, it was found that                for the new mother. Providing                    consensus breastfeeding guidelines
rooming-in was associated with lower            support to the mother as she                     that suggest that breastfeeding
rates of pharmacotherapy for                    responds to these clinical features is           should be encouraged if the mother
withdrawal (relative risk, 0.37; 95%            important. Mothers frequently                    has not had a relapse in .90 days but
CI, 0.19 to 0.71; I2, 85%) and shorter          experience overwhelming feelings of              discouraged if there has been
lengths of hospital stay (weighted              guilt and anxiety in response to the             a relapse in the last 30 days.66 Being
mean difference, –10.41 days; 95%               dysregulated neurobehaviors                      HIV-positive is a contraindication to
CI, –16.84 to –3.98 days; I2, 91%).63           associated with NOWS, and                        breastfeeding in high-income


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countries, such as the United States,            which may inﬂuence their desire to               therapy for NOWS is morphine.61 In
and HCV-positive mothers with                    breastfeed.69–71                                 several recently published studies, it
bleeding or cracked nipples should                                                                was found that longer-acting opioids
also consider abstaining from                                                                     may reduce length of stay when
breastfeeding.67 Clinicians and                  PHARMACOTHERAPY                                  compared with morphine. Kraft
patients should be cautious with                 For infants with severe NOWS, use of             et al74 found that when compared
sudden discontinuation of                        a medication in addition to                      with morphine, buprenorphine used
breastfeeding because some                       nonpharmacologic measures is                     for NOWS resulted in a shorter
have reported signs of infant                    necessary to improve clinical signs of           median duration of treatment (15 vs
withdrawal.68                                    withdrawal and minimize                          18 days; P , .001) and length of
                                                 complications from withdrawal (eg,               hospital stay (21 vs 33 days; P ,
In a recent survey of women in                   severe weight loss). Ideally,                    .001). Similarly, Davis et al75 found
treatment of OUD, it was found that              pharmacotherapy minimizes clinical               that when compared with morphine,
although most mothers desire and                 signs of withdrawal, and then the                methadone resulted in a shorter
attempt to establish breastfeeding,              infant is weaned off the medication              duration of treatment (11.5 vs 15
they encounter signiﬁcant challenges             using a standardized protocol to                 days; P = .009) and length of stay
(eg, long NICU stays, lack of support            minimize total medication                        (16 vs 20 days; P = .005). Importantly,
and education) that compromise their             exposure.72 Pharmacologic therapy                both clinical trials occurred in the
success. For these reasons, rates of             should be considered for severe                  context of rigorous study protocols
                                                 opioid withdrawal despite                        and included only women in
breastfeeding initiation, exclusivity,
                                                 nonpharmacologic interventions.                  treatment of OUD to test the efﬁcacy
and duration remain low among
                                                 Vomiting and loose stools are                    of these medications; therefore, one
mothers with OUD. In addition, some
                                                 associated with dehydration and poor             limitation of these clinical trials may
mother-infant dyads may have
                                                 weight gain and are relative                     be generalizability to other
difﬁculty with latching because of
                                                 indications for treatment. Naloxone              populations (ie, infants of mothers
withdrawal and may require
                                                 should never be administered to an               not in treatment of OUD).
fortiﬁcation of milk because of infant
                                                 infant with NOWS because it will
weight loss, which can lead to fewer                                                              There is evidence to support the use
                                                 exacerbate the underlying withdrawal
breastfeeding attempts and lower                                                                  of secondary medications for NOWS,
                                                 syndrome.
sustainment of breastfeeding. Lastly,                                                             either when initiating
breastfeeding counseling and support             The literature supports the use of an            pharmacotherapy76 or, more
should be trauma informed because                opioid for opioid withdrawal as                  commonly, as an additional
mothers with OUD report high rates               a ﬁrst-line agent.73 In the United               medication when clinical signs
of trauma, including sexual trauma,              States, the most common ﬁrst-line                continue to escalate despite




FIGURE 2
Nonpharmacologic approaches to NOWS. Adapted from Velez M, Jansson LM. The opioid dependent mother and newborn dyad: non-pharmacologic care. J
Addict Med. 2008;2(3):113–120.



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pharmacotherapy with an opioid. The             pediatrician’s responsibility alone; it          postdischarge care providers,
most common medications used after              requires hospital supports (eg, social           including, pediatricians, early
initiation of an opioid for NOWS are            work) to appropriately assess and                intervention providers, and home-
clonidine and phenobarbital. The                assist families in this critical                 nurse visitation programs.
majority of practitioners use                   transition.
phenobarbital as a second drug if the                                                            Discharge Education
                                                The immediate postnatal period is
opioid does not adequately control                                                               In addition to routine newborn
                                                a time of high risk for mothers with
withdrawal signs.77,78 In recent years,                                                          education, emphasis should be placed
                                                OUD, especially if they lose access to
clonidine has increased in the United                                                            on the needs of the opioid-exposed
                                                medications for OUD. Recent data
States as a therapy for NOWS.61                                                                  dyad. Ideally, the infant caregiver has
                                                suggest that loss of access to
Clonidine is an a-2-adrenergic                                                                   been engaged in care during the
                                                medications for OUD after delivery is
receptor agonist that has been used in                                                           pregnancy and is familiar with
                                                associated with overdose death.85 In
combination with an opioid or other                                                              common clinical signs and scoring
                                                addition, a key support to give
drug in older children and adults to                                                             processes. The caregiver should know
                                                mothers the best chance of remission
reduce withdrawal symptoms.79,80                                                                 when and how to seek help if signs of
                                                of OUD and improved dyadic
There is not sufﬁcient evidence to                                                               infant withdrawal become
                                                relational health is partnering with
suggest greater efﬁcacy of clonidine                                                             unmanageable or if additional
                                                mental health clinicians to provide
over phenobarbital; however,                                                                     challenges present (eg, maternal
                                                comprehensive treatment. For
phenobarbital has been shown to                                                                  depression, relapse). Infants with
                                                example, maternal screening for
have neurotoxicity in animal                                                                     substance exposure are at an
                                                treatable problems, such as
studies,81,82 and its use has been                                                               increased risk of sleep-related
                                                traumatic stress and depression,
associated with adverse                                                                          deaths90; therefore, additional
                                                could be addressed by referral to
developmental outcomes.83                                                                        emphasis on safe sleep and safe sleep
                                                evidence-based, dyadic-focused
Therefore, clinicians should consider                                                            environments is recommended.
                                                interventions, such as child-parent
use of clonidine as a second-line                                                                Similar to all infant discharges,
                                                psychotherapy.86
agent over phenobarbital, and                                                                    parents of infants with opioid
additional study is needed to test the          Infants with opioid exposure are also            exposure should be provided
effects of both agents on infants’ long-        at risk for adverse outcomes,                    education on how to deal with
term development.                               including hospital readmission.87,88             challenging infant behaviors (eg,
                                                Women may have to manage their                   subacute withdrawal signs) that may
Clinicians should be mindful that               own medical follow-up needs (eg,                 increase the risk of nonaccidental
some drug preparations may include              obstetrics, addiction medicine), their           trauma.
a high alcohol content (eg,                     infant’s medical follow-up needs (eg,
buprenorphine), and choosing                    general pediatrician, pediatric                  Medical Follow-up
preparations of low alcohol content is          infectious disease, lactation support),          Infants should be observed for 24 to
preferred. In addition, consistent with         and additional services (eg, the                 48 hours after ﬁnishing any
previous AAP statements,                        Special Supplemental Nutrition                   medication taper. Ideally, an infant
camphorated tincture of opium                   Program for Women, Infants, and                  with opioid exposure would be seen
(paregoric) and/or deodorized                   Children, early intervention, child              by his or her pediatrician within
tincture of opioid (laudanum) should            welfare). The task of coordinating               48 hours of discharge from the
not be used for NOWS.                           these multiple stakeholders,                     hospital to monitor for adequate
                                                combined with the risk of adverse                weight gain and to monitor for any
                                                postdischarge outcomes (such as                  continued signs of withdrawal. The
PREPARING FOR DISCHARGE                         readmission),88 makes formalizing                frequency of pediatrician visits may
It is important to plan effectively for         the discharge process for infants with           need to be higher than that for
a safe transition from the hospital to          opioid exposure critical. Use of                 uncomplicated term infants. Although
home after birth for the mother-                simpliﬁed electronic or print                    there are no data to inform the most
infant dyad. Families of infants with           checklists can be helpful in                     optimal pediatrician visit schedule for
opioid exposure are                             improving discharge processes                    infants with opioid exposure, the
disproportionately impoverished,28              (Table 4).89 When possible,                      infant should be seen within 48 hours
may face multiple economic and                  postdischarge care for the mother-               of discharge, with a 1-week follow-up.
social challenges,12,25,84 and are              infant dyad should be coordinated                Additional visits should be tailored
frequently involved in the child                and comprehensive. Lastly, hospitals             to the needs of the dyad. Ideally,
welfare system. Adequate preparation            should ensure adequate handoffs                  breastfed infants should also
for hospital discharge cannot be the            and information transfer to                      have outpatient lactation support


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TABLE 4 Discharge Checklist for Infants With Opioid Exposure                                            Postdischarge Services
 Completed (Check Yes)                                                                                  Infants with opioid exposure,
 Task                                                                                                   regardless of the need for
   No signiﬁcant clinical signs of withdrawal for 24–48 h                                               pharmacotherapy for NOWS, are at
   Parent education about NOWS and routine newborn care, emphasizing safe sleep
                                                                                                        increased risk for developmental
   Pediatrician or primary care provider follow-up visit scheduled within 48 h of discharge
   Early intervention services referral                                                                 alterations.99 In addition to
   Home-nurse visitation referral                                                                       developmental, behavioral, and
   Hepatitis C testing follow-up, including referral to pediatric infectious disease when appropriate   mental health100 screenings by the
   Plan of safe care, coordinating with child welfare as appropriate                                    primary care pediatrician, all infants
   Developmental-behavioral pediatrician referral as appropriate
                                                                                                        with substance exposure should be
                                                                                                        referred to early intervention
and be assessed in the ﬁrst                            States, potentially missing a window             services, and developmental
48 hours of life.                                      of opportunity to identify HCV in the            screenings in a NICU developmental
                                                       mother-infant dyad. Even without                 assessment clinic or equivalent
Outpatient Pharmacotherapy                             universal screening, data suggest that           should be considered. Early
                                                       as the opioid crisis grew, rates of HCV          intervention services are available in
With increasing focus on reducing
                                                       infection among pregnant women                   all areas of the United States as part C
length of hospital stay for infants with
                                                       increased.95 From 2009 to 2014, the              of the Individuals with Disabilities
NOWS, many institutions began
                                                       rate of HCV infection among US                   Education Act. Strong consideration
discharging infants from the hospital
                                                       pregnant women doubled to 3.4 per                should also be given to referral to
on medications. Among infants
                                                       1000 live births and as high as 1 in 50          home-nurse visitation programs (eg,
treated in the nearly 200 centers
                                                       births in West Virginia.96 Given this            the Maternal, Infant, and Early
participating in the Vermont Oxford
                                                       rising risk to maternal and infant               Childhood Home Visiting Program) as
Network collaboration focused on
                                                                                                        a resource to families.
improving care for NOWS, .25%                          health, hospitals should consider
were discharged from the hospital on                   universally screening pregnant
                                                                                                        Early Head Start programs are similar
medications at the end of the 2-year                   women for HCV and creating
                                                                                                        to Head Start but are targeted to
collaborative.60 Consistently, the                     processes to connect the dyad to
                                                                                                        pregnant women and infants until age
literature suggests that discharging                   treatment postnatally.
                                                                                                        3 years. These programs support
infants from the hospital on
                                                                                                        parental and infant development and
pharmacotherapy reduces length of                      Because vertical transmission occurs
                                                                                                        can further enable family success,
hospital stay91–94; however,                           in 6% of infants exposed to HCV
                                                                                                        promoting housing and ﬁnancial
comparative outcomes, in particular                    (11% if HIV coinfection), infants must
                                                                                                        stability. Pediatricians should
duration of total treatment and                        be tested after discharge to determine
                                                                                                        consider referrals to Early Head Start
development outcomes, are scant. In                    if they seroconvert. Maternal
                                                                                                        programs for opioid-exposed infants.
a recent study, of nearly 1000 infants                 antibodies can persist for 18 months;
                                                                                                        Early Head Start programs can be
with NOWS enrolled in the Tennessee                    thus, antibody testing must occur
                                                                                                        identiﬁed by using the Center Locator
Medicaid program, infants discharged                   after 18 months; however, RNA
                                                                                                        (https://eclkc.ohs.acf.hhs.gov/center-
from the hospital on medications had                   polymerase chain reaction testing
                                                                                                        locator).
a shorter median length of hospital                    may occur earlier. Data suggest,
stay (11 vs 23 days; P , .001) but                     however, that only a minority of                 In addition, the AAP has several
longer median lengths of treatment                     exposed infants are tested.97,98                 resources to aid pediatricians in
(60 vs 19 days; P , .001).87 Given the                 Because infants with opioid exposure             connecting children to developmental
lack of long-term follow-up data,                      are at risk for HCV exposure, it is              resources that are free and available
clinicians should avoid outpatient                     imperative that (1) all infants with             online, including the National Center
tapers when possible. If outpatient                    opioid exposure are evaluated for                on Early Childhood Health and
tapers are used, a structured                          HCV exposure and (2) all infants                 Wellness (https://www.aap.org/en-
weaning plan with comprehensive                        with HCV exposure are adequately                 us/advocacy-and-policy/aap-health-
follow-up should be implemented                        managed to determine if they                     initiatives/NCECHW/Pages/National-
to minimize total medication                           acquire the virus. All infants                   Center-on-Early-Childhood-Health-
time.                                                  HCV exposure should be evaluated                 and-Wellness.aspx) and publications
                                                       and should be tested for                         such as Caring for Our Children
Hepatitis C                                            seroconversion by using RNA                      (https://nrckids.org/CFOC/). Similar
HCV screening among pregnant                           polymerase chain reaction or                     resources, such as HealthySteps
women is not universal in the United                   antibody testing.                                (https://www.healthysteps.org/),


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may also serve pediatricians in                 actively being developed, and there is           long-term consequences; and (4)
developing models of care to meet               evidence that many states are                    develop a coordinated strategy to
the needs of infants with opioid                struggling with implementation.13                address gaps in research. In fall
exposure.                                       Pediatricians should consider                    2018, the HHS held a summit to
                                                involvement in the development of                improve coordination of national
The Child Welfare System and Plans              plans of safe care in their                      surveillance, research, and
of Safe Care                                    communities. Because of their                    prevention efforts.106
The opioid crisis resulted in greater           expansive nature of supporting the
                                                                                                 Currently, there is considerable
demands on the US child welfare                 mother-infant dyad, some states have
                                                                                                 variation in reporting of NOWS by
system.12,13 Although evidence                  elected to call their plans of safe care
                                                                                                 state or jurisdiction. Improvement in
suggests that keeping the family                “plans of supportive care.” Such
                                                                                                 reporting of NOWS to public health
intact improves outcomes for parents            partnerships between pediatricians
                                                                                                 ofﬁcials can help to identify
and infants, child safety must still be         and child welfare professionals can
                                                                                                 communities in critical need of
paramount.12 A report to child                  help ﬁll education gaps, foster
                                                                                                 intervention. Currently, only a handful
protective services should be                   positive partnerships, and promote
                                                                                                 of states have mandatory reporting of
                                                understanding, with the ultimate goal
considered when the mother has not                                                               NOWS,107 and states vary in case
received or been adherent to                    of improving outcomes for the
                                                                                                 deﬁnitions for state reporting. In
treatment of OUD, when there is                 mother-infant dyad.102
                                                                                                 a study of 6 states with case reporting
concern or evidence of polysubstance                                                             for NOWS during 2013–2017,
use during pregnancy, or when there             Public Health Considerations
                                                                                                 considerable variability was found in
is a concern for infant safety. In cases        NOWS reﬂects the downstream                      how states deﬁned and used
in which a child cannot be safely               implications of a complex public                 surveillance.107 Nevertheless, for
cared for by his or her parents,                health crisis. To prevent NOWS,                  states and other jurisdictions to
appropriately trained kinship or                pregnant women, women and men of                 improve reporting, a consistent
foster care placement may be                    reproductive age, and the                        deﬁnition is needed. In an attempt to
necessary. Referral to child protective         communities they live in need                    provide a more universal deﬁnition
services is not a substitute for referral       effective access to prevention,                  for public health surveillance, the
to treatment of the pregnant or                 treatment, and services (eg, access              Council on State and Territorial
parenting woman.                                to comprehensive treatment of                    Epidemiologists, in collaboration with
                                                substance use disorder, access to                the Centers for Disease Control and
Recently, there have been numerous
                                                highly effective contraception)                  Prevention, met with state health
changes to the child welfare system to
                                                (Fig 3).103,104 As public health and             ofﬁcials to improve reporting in
provide parental supports and
                                                surveillance efforts continue to                 all states on the basis of maternal
connection to treatment. In 2016, the
                                                evolve, involvement of pediatricians             opioid use reported in prenatal and
Comprehensive Addiction and
                                                at the local, state, and national level          delivery records as well as newborn
Recovery Act amended the Child
                                                will continue to be important to                 hospitalization records.108 With more
Abuse Prevention and Treatment Act
                                                ensure that the unique needs of                  consistent reporting, states may be
to ensure that “plans of safe care” are
                                                children are addressed.                          able to better and more rapidly
created for infants “being affected by
                                                                                                 identify needs among and between
substance abuse or withdrawal                   A federal prevention strategy outlined
                                                                                                 localities.
symptoms, or a fetal alcohol spectrum           in the 2015 Protecting our Infants
disorder.” Importantly, these plans             Act105 provides several mandates for             State and regional collaborations are
should address the “health and                  the US Department of Health and                  developing strategies to improve
substance use disorder treatment                Human Services (HHS) to address                  access to maternal medications for
needs of the infant and affected                problems related to prenatal opioid              OUD, improve the quality of care
family or caregiver.”101 Ideally, plans         exposure. The strategy requires                  for newborn infants with NOWS,
of safe care are well coordinated               HHS agencies to plan, review, and                and reduce hospital length of stay
within state child welfare agencies,            coordinate activities related to                 and associated costs. Ohio’s
and planning begins before birth.               prenatal opioid exposure and NOWS                Perinatal Quality Collaborative
States may interpret and implement              to (1) develop recommendations for               initiated a statewide approach to
legislation related to plans of safe            prevention; (2) treat OUD in pregnant            the care of infants with NOWS
care differently; therefore, it is              women and infants with NOWS; (3)                 that included standardized
important for pediatricians to be               identify pregnant women and infants              assessment and treatment, including
aware of their local requirements.              in need of services to treat OUD in              both pharmacologic and
The creation of plans of safe care are          pregnancy and NOWS, including any                nonpharmacologic interventions.


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FIGURE 3
Public health approaches to opioid use in pregnancy and in infants with opioid exposure. (Reprinted with permission from Patrick SW. Improving public
health systems for substance-affected pregnancies. Am J Public Health. 2019;109(1):22–23.)


Among 52 of the state’s 54 neonatal                CONCLUSIONS                                        mother-infant dyad. We present the
care facilities, standardized                      The opioid crisis has had a profound               following recommendations for care.
pharmacologic treatment and                        effect on pregnant women and their
increased use of nonpharmacologic                                                                     Access to Treatment
                                                   infants. Despite improvements in the
treatment reduced both the length of               identiﬁcation, assessment, and                     1. All pregnant women should have
treatment and the length of hospital               treatment of NOWS, substantial                        access to medications for OUD
stay from 13.4 to 12 days and from                 knowledge gaps remain. Pediatricians                  because they have been shown to
18.3 to 17 days, respectively.109                  are well positioned to improve                        reduce risk of overdose death and
Among a multistate, multicenter                    outcomes for the mother-infant dyad                   improve pregnancy outcomes.
quality improvement collaborative,                 through evidence-based practice and                2. Pediatricians should partner with
participating hospitals were able to               connection of families to public                      state and local child welfare
reduce the median length of                        resources.                                            agencies to advocate for funding to
pharmacologic treatment from 16 to                                                                       improve access to quality
15 days and the infant length of                                                                         treatment of OUD.
hospital stay from 21 to 19 days                   RECOMMENDATIONS
through a standardized scoring                     NOWS is a major consequence of the                 Antenatal Counseling and Screening
process for NOWS. Albeit noteworthy,               opioid crisis, with dramatic increases             1. Pregnant women with OUD should
these reductions in length of stay and             over the last decade. Pediatric care                  receive antenatal counseling to
costs are modest. Additional quality               clinicians can help reduce newborn                    provide education on the clinical
improvement approaches and                         morbidity, hospitalization, and costs                 signs of withdrawal and enhance
measures are needed to improve care                and help improve maternal screening,                  maternal understanding of
to the mother-infant dyad.                         referral, and follow-up for the                       postnatal treatment (eg,


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   nonpharmacologic treatment,                      approach by using a commonly                      be supported if there are no
   including breastfeeding and                      used tool (eg, modiﬁed Finnegan                   other contraindications.
   pharmacotherapy). When possible,                 score) should be employed to
                                                                                                   9. For infants of women with active
   maternal antenatal counseling                    measure the presence and severity
                                                                                                      substance use or with relapses
   should be provided by a pediatric                of withdrawal symptoms as well as
                                                                                                      within the last 30 days,
   provider.                                        the response to treatment (Fig 1).
                                                                                                      breastfeeding should be
2. Multiple modalities of testing               2. Comorbidities should also be                       discouraged.
   should be considered for the                    considered, including infectious
                                                                                                 10. For infants of women in
   infant, including, infant urine,                and neurologic conditions. If no
                                                                                                     treatment between 30 and
   meconium, and umbilical cord                    clear in utero exposure is
                                                                                                     90 days without relapse,
   tissue testing.                                 identiﬁed through maternal
                                                                                                     breastfeeding should be
3. For women in treatment of OUD                   history, screening, or testing,
                                                                                                     considered.
   who receive frequent toxicology                 NOWS is a diagnosis that should
                                                   be used only if other potential               11. HIV is a contraindication to
   testing, infant meconium and/or
                                                   causes of an infant’s symptoms                    breastfeeding in high-income
   umbilical cord tissue testing may
                                                   have been evaluated fully and                     countries, such as the United
   not be necessary.
                                                   no other cause has been identiﬁed.                States. HCV-positive mothers
4. For many substances, urine                                                                        with cracked or bleeding nipples
   toxicology only captures a short             Treatment                                            should consider abstaining from
   window of substance use for some                                                                  breastfeeding.
                                                  1. Hospitals should prioritize
   systems.
                                                     keeping the mother-infant dyad              12. Lactation support should be
5. Pediatricians should assess                       intact throughout observation                   provided in the inpatient setting
   additional social risks, including,               and treatment of an infant                      and after discharge.
   but not limited to, food and                      with opioid exposure.                       13. Pharmacologic therapy should be
   housing insecurity, and connect to                Rooming-in is the preferred                     considered for severe opioid
   community resources.                              model of care.                                  withdrawal (eg, MOTHER score
Observation                                       2. Hospitals should have a written                 .8 3 2 or .12 3 1) in addition
                                                     protocol for the                                to nonpharmacologic
1. All infants with chronic opioid                   nonpharmacologic and                            interventions. Vomiting and loose
   exposure should be observed for                   pharmacologic treatment of an                   stools are associated with
   at least 72 hours to monitor for                  infant with opioid exposure.                    dehydration and poor weight
   the development of withdrawal.                                                                    gain and are relative indications
   Although there is increasing                   3. Admission to a NICU only for opioid
                                                     exposure or NOWS is not required.               for treatment.
   evidence that multiple factors may
                                                  4. All hospitals should have                   14. Opioids should be used as a ﬁrst-
   increase an opioid-exposed
                                                     a written protocol for initiating               line therapy for severe NOWS.
   infant’s risk of withdrawal (eg,
   gestational age, speciﬁc genotypes,               nonpharmacologic and                        15. Infants who require
   tobacco use, benzodiazepine, and                  pharmacologic treatment of an                   pharmacologic treatment should
   gabapentin), there remains                        infant with opioid exposure.                    be monitored (eg, pulse
   insufﬁcient evidence of how to use             5. Nonpharmacologic interventions                  oximetry).
   these exposures to tailor an                      should be used for all infants with         16. Recent data suggest that
   infant’s postnatal observation                    opioid exposure and should be                   opioids with a longer half-life,
   period. Institutions may use the                  considered the foundation of care.              such as buprenorphine and
   following approach for                         6. Nonpharmacologic treatment                      methadone, may reduce length
   observation of infants with opioid                should be tailored to the clinical              of treatment. However, caution
   exposure:                                         signs of the infant.                            should be considered if the
2. immediate-release opioids: 3 days;                                                                preparation has a high alcohol
                                                  7. All hospitals should have
                                                                                                     content.
3. buprenorphine and sustained-                      a protocol for breastfeeding an
   release opioids: 4 to 7 days; and                 infant with substance exposure.             17. Paregoric and deodorized tincture
                                                                                                     of opium should not be used.
4. methadone: 5 to 7 days.                        8. For infants of mothers in
                                                     treatment of OUD with                       18. If a second agent is needed for
Diagnosis                                            buprenorphine or methadone                      severe opioid withdrawal, the use
1. For all infants at risk for NOWS,                 who have not had relapse for                    of clonidine should be considered
   a standardized assessment                         $90 days, breastfeeding should                  over phenobarbital.


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19. Naloxone should never be used                       9. plan of safe care, coordinating                  STAFF
    in the treatment of an infant                          with child welfare;                              Jim Couto, MA
    with chronic opioid exposure                       10. developmental-behavioral
    because it may precipitate                             pediatrician referral, as                        COMMITTEE ON SUBSTANCE USE AND
    rapid withdrawal and                                   appropriate; and                                 PREVENTION, 2019–2020
    seizure.
                                                       11. consideration of behavioral and/                 Lucien Gonzalez, MD, MS, FAAP, Chairperson
                                                           or mental health system referrals                Deepa R. Camenga, MD, MHS, FAAP
                                                           to address dyadic relational                     Stephen W. Patrick, MD, MPH, MS, FAAP
Discharge                                                                                                   Joanna Quigley, MD, FAAP
                                                           health.
 1. Discharge of infants from the                                                                           Sheryl A. Ryan, MD, FAAP
    hospital on pharmacotherapy                                                                             Leslie Walker-Harding, MD, FAAP

    should be avoided and should
                                                       LEAD AUTHORS
    only occur if there is                                                                                  LIAISON
                                                       Stephen W. Patrick, MD, MPH, MS, FAAP
    a structured, close outpatient                                                                          Rebecca Ba’Gah, MD – American Academy of
                                                       Wanda D. Barﬁeld, MD, MPH, FAAP
    follow-up plan for the mother-                     Brenda B. Poindexter, MD, MS, FAAP                   Child and Adolescent Psychiatry
    infant dyad.
 2. A discharge checklist should be                                                                         STAFF
    completed (Table 3):                               COMMITTEE ON FETUS AND NEWBORN,                      Renee Jarrett, MPH
 3. no signiﬁcant clinical signs of                    2019–2020
    withdrawal for 24 to 48 hours                      James Cummings, MD, FAAP, Chairperson
    after treatment;                                   Ivan Hand, MD, FAAP                                    ABBREVIATIONS
                                                       Ira Adams-Chapman, MD, MPH, FAAP
 4. parent education about NOWS                        Susan W. Aucott, MD, FAAP                              AAP: American Academy of
    and routine newborn care,                          Karen M. Puopolo, MD, FAAP                                   Pediatrics
    emphasizing safe sleep;                            Jay P. Goldsmith, MD, FAAP                             ACOG: American College of
                                                       David Kaufman, MD, FAAP
 5. pediatrician or primary care                       Camilia Martin, MD, FAAP
                                                                                                                     Obstetricians and
    provider follow-up visit                           Meredith Mowitz, MD, FAAP                                     Gynecologists
    with 48 hours of                                                                                          CI: conﬁdence interval
    discharge;                                                                                                ESC: Eat, Sleep, Console
                                                       LIAISONS                                               HCV: hepatitis C virus
 6. early intervention services
                                                                                                              HHS: US Department of Health and
    referral;                                          Timothy Jancelewicz, MD, FAAP – American
                                                       Academy of Pediatrics Section on Surgery                     Human Services
 7. consideration of home-nurse
                                                       Michael Narvey, MD – Canadian Paediatric               MOTHER: Maternal Opioid
    visitation and Early Head                          Society                                                           Treatment: Human
    Start;                                             Russell Miller, MD – American College of                          Experimental Research
 8. hepatitis C and HIV testing                        Obstetricians and Gynecologists
                                                                                                              NOWS: neonatal opioid
                                                       RADM Wanda Barﬁeld, MD, MPH, FAAP –
    referral, including referral to                    Centers for Disease Control and Prevention                     withdrawal syndrome
    pediatric infectious disease when                  Lisa Grisham, APRN, NNP-BC – National                  OUD: opioid use disorder
    appropriate;                                       Association of Neonatal Nurses



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